110 F.3d 68w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Patsy JAMERSON, Plaintiff-Appellant,v.Shirley S. CHATER, Secretary, Commissioner of SocialSecurity, Defendant-Appellee.
    No. 95-17378.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Feb. 13, 1997.Decided March 27, 1997.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    